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                         Exhibit B
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  From: PII
Subject: support@feelthemusi.com
   Date: November 17, 2024 at 7:01 PM
     To: support@feelthemusi.com



       Hi,

       My name is PII               and I’m really a big fan of your music app, I recently got a new phone and everything transfer to my new phone ,
       only problem is that I was trying to open the app on my new phone , it could not open so I deleted the app and I had ton of music in my
       library on my app I could not find the app in my all store I I check almost every music app and I was not successful find musi app with all my
       music in my library , is it possible for you guys to help me restore my musi app and music library, this happen about a week ago.

       Thank you!


       Sent from my iPhone
